                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION
UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              ) Case No. 18-00293-02-CR-W-DGK
                                                       )
       v.                                              ) Date: November 4, 2022
                                                       )
TREVOR SCOTT SPARKS,                                   )
                                                       )
                               Defendant.              )
                                            MINUTES OF TRIAL
HONORABLE GREG KAYS presiding at Kansas City, Missouri.
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Nature of Proceeding: Criminal Jury Trial - Day 4
Time Commenced: 8:30 a.m.            Time Terminated: 4:51 p.m.
Plaintiff by:                                  Defendants by:
Bruce Rhoades, AUSA                            Al White
Robert Smith, AUSA                             Blade Moore

 Remarks:                                                                                  Witness Testifying
 8:30 a.m. Preliminary matters taken up with counsel and defendant outside the            Laura Smith
                                                                                          9:05 – 9:14 a.m.
 presence of the jury. 8:33 a.m. Break. 9:05 a.m. In session. Laura Smith – Direct.
 9:16 a.m. Gloria May Jones – Direct. 10:22 a.m. Break. 10:41 a.m. In session.            Gloria May Jones
 Cross. 11:00 a.m. Redirect. 11:07 a.m. Recross. 11:08 a.m. Adam Mallory – Direct.        9:16 - 11:07 a.m.
 11:30 a.m. Shari Taylor – Direct. 11:40 a.m. Ryan Cornelius – Direct. 11:57 a.m.
                                                                                          Adam Mallory
 Lunch recess. 1:01 p.m. In session. Direct continued. 1:33 p.m. Redirect. 1:35 p.m.      11:08 – 11:20 a.m.
 Michael Manley – Direct. 1:38 p.m. Shane Pierce – Direct. 1:45 p.m. Cross. 1:49
 a.m. Cory Horalek – Direct. 2:18 p.m. Cross. 2:35 p.m. Redirect. 2:37 p.m. Recross.      Raymond Sessions
                                                                                          11:20 – 11:29 a.m.
 2:39 p.m. Break. 3:04 p.m. In session. Vicente Araujo – Direct. 3:46 p.m. Cross.
 3:59 p.m. Redirect. 4:02 p.m. Daniel Croney – Direct. 4:07 p.m. Cross. 4:08 p.m.         Shari Taylor
 Trisha McCormick – Direct. 4:23 p.m. Cross. 4:27 p.m. Stipulation read into the          11:30 – 11:39 a.m.
 record. 4:30 p.m. Break. 4:40 p.m. Defendant is sworn and questioned by the Court
                                                                                          Ryan Cornelius
 regarding his right to testify. Defendant waives his right. The Court finds the waiver   11:40 – 1:33 p.m.
 is knowledgeably and voluntarily entered by Defendant. 4:45 p.m. Jury Instruction
 Number 9 is read into the record. 4:46 p.m. Jury seated and advised that the parties     Michael Manley
 have rested. 4:46 p.m. Government rests. 4:46 p.m. Defendant rests. 4:48 p.m. Jury       1:35 – 1:38 p.m.
 excused for evening recess and instructed to return 11/7/22 at 10:00 a.m. 4:51 p.m.      Shane Pierce
 Evening recess.                                                                          1:38 – 1:49 p.m.

                                                                                          Cory Horalek
                                                                                          1:49 – 2:39 p.m.

                                                                                          Vicente Araujo
                                                                                          3:04 – 4:03 p.m.

                                                                                          Daniel Croney
                                                                                          4:02 – 4:08 p.m.

                                                                                          Trisha McCormick
                                                                                          4:08 – 4:25 p.m.
Date/Time Government Rested: 11/4/22 4:46 p.m. Date/Time Defendant Rested: 11/4/22 4:46 p.m.
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Court Reporter: Annisa Justice                                Courtroom Deputy: Tracy Strodtman
